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                                                          HON. JAMES P. DONOHUE




UNITED STATES OF AMERICA,              )
                                       )      No.    CR05-334RSL
                    Plaintiff,         )
                                       )      ORDER AUTHORIZING
     v.                                )      FOREIGN TRAVEL
                                       )
RAJINDER JOHAL, et. al.,               )
                                       )
                    Defendants.        )

     DEFENDANT MANINDER SINGH KHATKAR requests permission to

travel to Surrey BC, Canada from February 20th until February

22nd to attend the spreading of ashes of his recently deceased

brother,    Ranjit    Singh       Khatkar,    and    so    he   can   assist      his

deceased    brother’s       widow    conclude       her    deceased      husband’s

financial    affairs.       PTS     Officer     Todd      Skipworth      has      been

contacted    and     does     not    object.      Assistant        United      States

Attorney    Sarah    Y.     Vogel   has    been     contacted      and   does     not

object.

     Accordingly the defense motion is GRANTED. The defendant

may travel to Surrey BC Canada on February 20, 2006 and shall

return to the United States on February 22, 2006. Upon his
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return   to   the   United   States   the   defendant        shall   promptly

contact his pretrial services officer.

     All   other    conditions   of   the   defendant’s       release    shall

remain in effect.

     Dated this 21st day of February 2006.




                                  /s/ JAMES P. DONOHUE
                                  United States Magistrate Judge
